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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                        )
In re:                                                  )   Chapter 11
                                                        )
CAESARS ENTERTAINMENT OPERATING                         )   Case No. 15-01145 (ABG)
COMPANY, INC., et al.,1                                 )
                                                        )   (Jointly Administered)
                       Reorganized Debtors.             )
                                                        )   Re: Docket No. 8167

             REORGANIZED DEBTORS’ LIMITED OBJECTION AND
    RESERVATION OF RIGHTS TO MOTION FOR MODIFICATION OF INJUNCTION

         The above-captioned reorganized debtors (collectively before the effective date of their

plan of reorganization, the “Debtors,” and after the effective date of their plan of reorganization,

the “Reorganized Debtors”) file this limited objection (this “Objection”) to the Motion to Modify

the Discharge Injunction [Docket No. 8167] (the “Motion”) filed by plaintiff Lawrence Culp (the

“Movant”). In support of this Objection, the Reorganized Debtors respectfully state as follows.

                                            Objection

         1.     The Movant did not file a proof of claim in these chapter 11 cases and therefore

has no right to recover from the Debtors’ estates. See generally In re J.S. II, L.L.C., 389 B.R.

563, 566 (Bankr. N.D. Ill. 2008) (noting that a creditor must timely file a proof of claim to

recover from a debtor). Because the Movant does not have a right to recover from the Debtors’

estates, the Reorganized Debtors have been investigating whether insurance and/or any

applicable indemnification agreement would fully cover the costs should the litigation continue.

         2.     Although the Reorganized Debtors hope to reach a consensual resolution of the

Motion, as of the date hereof the Reorganized Debtors have not yet confirmed that no costs

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      A complete list of the Reorganized Debtors and the last four digits of their federal tax
      identification numbers may be obtained at https://cases.primeclerk.com/CEOC.
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would be required of the Debtors’ estates if the litigation were to resume.         As such, the

Reorganized Debtors request that the Motion be continued to allow further time to investigate

this matter and negotiate a consensual resolution. If the parties are unable to reach a consensual

resolution of the Motion, the Reorganized Debtors will request the Court to set a briefing

schedule at a later date so that the Reorganized Debtors may address the merits of the Movant’s

request to modify the injunction rising under Article VIII.E of the Debtors’ Third Amended Joint

Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 6318] and

section 524(a) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532.



                                             Respectfully,

Dated: August 8, 2018                               /s/ David R. Seligman, P.C.
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